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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 2:21-cr-5

 MIQUAVIS MORRIS,

                Defendant.


                                           ORDER

       On May 4, 2021, the parties filed their Joint Status Report. Doc. 31. In that Report, the

parties state that all pretrial motions filed in this case as to Defendant Miquavis Morris have been

resolved. Accordingly, the Court DENIES as moot all motions, docs. 22-27, as to Defendant

Miquavis Morris.

       The Motions Hearing scheduled for May 10, 2021 at 10:00 a.m. as to Defendant

Miquavis Morris is cancelled.

       SO ORDERED, this 5th day of May, 2021.




                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
